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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 JOSEPH GRECO,
                                                  DEFAULT JUDGMENT
       Plaintiff,

 v.                                               Case No. 2:20-cv-00610-JNP-CMR

 MICHAEL CASEY; SCOTIA                            District Judge Jill N. Parrish
 INTERNATIONAL OF NEVADA, INC.;
 MAX BARBER; and SION TRADING FZE

       Defendants.



       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff Joseph

Greco and against defendants Scotia International of Nevada, Inc., Max Barber, and SION Trading

FZE, jointly and severally, in the principal amount of $4,000,000, plus prejudgment interest in the

amount of $1,606,575.34, for a total amount of $5,606,575.34.

       DATED June 8, 2023.

                                             BY THE COURT


                                             ______________________________
                                             Jill N. Parrish
                                             United States District Court Judge
